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 8                               UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
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11    KATHRYN KAILIKOLE,                                  Case No.: 18cv2877-AJB(MSB)
12                                       Plaintiff,
                                                          ORDER GRANTING JOINT MOTION FOR
13    v.                                                  ENTRY OF STIPULATED PROTECTIVE
                                                          ORDER [ECF NO. 32]
14    PALOMAR COMMUNITY COLLEGE
      DISTRICT, et al.,
15
                                     Defendants.
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18          On July 31, 2019, the parties filed a joint motion asking the Court to enter their
19    Protective Order. (ECF No. 32). The Court has considered the Stipulated Protective
20    Order and, for good cause shown, GRANTS the joint motion and enters the Stipulated
21    Protective Order attached as Exhibit 1 to the parties’ motion [ECF No. 32-1].
22          IT IS SO ORDERED.
23    Dated: July 31, 2019
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                                                                                  18cv2877-AJB(MSB)
